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                                 UNITED STATES DISTRICT COURT
                                      DISTRICT OF MAINE


CATHY PENN, as Guardian of                         )
Matthew Lalli,                                     )
                                                   )
                   Plaintiff                       )
                                                   )
v.                                                 ) CIVIL ACTION NO. 2:11-cv-00363-NT
                                                   )
KNOX COUNTY, et al,                                )
                                                   )
                   Defendants                      )


                     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

           Pursuant to Rule 41 (a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the plaintiff and the

defendants jointly request that this case be dismissed with prejudice and without costs or attorneys’

fees.

Dated: March 26, 2015                                      /s/ Daniel J. Stevens
                                                           Daniel J. Stevens
                                                           dstevens@pierceatwood.com
                                                           Attorney for Plaintiff

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Dated: March 26, 2015                                      /s/ Peter T. Marchesi
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on March 26, 2015, I electronically filed the foregoing Joint
Stipulation of Dismissal with Prejudice with the Clerk of Court using the CM/ECF system which
will send notification of such filing to the following:

                                      Peter T. Marchesi
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